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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
               v.                             )
                                              )       Criminal No. 08-CR-10224-DPW
CHRISTOPHER SCOTT,                            )
                                              )
       Defendant.                             )

           GOVERNMENT’S SUPPLEMENTAL SENTENCING MEMORANDUM

       The defendant made statements to Secret Service agents after receiving Miranda

warnings following the execution of a search warrant at his residence on May 7, 2008, but prior

to entering into either a proffer or plea agreement in this case. At the request of defense counsel,

government counsel agreed that he would endeavor to apprise the Court prior to sentencing of

those material facts in the government’s statement of facts which the government learned only

through statements made by the defendant to law enforcement agents during this period.

Government’s Notice With Respect to Rule 11 Hearing, Docket No. 8.

       As acknowledged by Scott in the plea agreement into which he subsequently entered on

July 7, 2008, no promises, representations or agreements were made to him other than those set

forth in the plea agreement and the proffer agreement dated June 3, 2008. Accordingly, nothing

restricts the use for the purpose of sentencing of statements made by him before the parties

entered into the proffer and plea agreements, including statements made by him at the time his

house was searched. In addition, these facts have since been confirmed in material part by the

statements of one or more coconspirators. Statements made by Scott under the protection

accorded by the plea and/or proffer agreements have been so identified.

       The government submitted two statements of fact to Probation with respect to Scott.

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Each was annotated in this regard, but not all of the annotations have been carried through in the

statement of facts contained in the Presentence Report. Accordingly, attached to this

Supplemental Memorandum is a partially redacted1 and paired back version of the government’s

statement of facts, containing the complete set of annotations.



                                                      Respectfully Submitted,

                                                      CARMEN M,. ORTIZ
                                                      United States Attorney

                                               By:    /s/ Stephen P. Heymann
                                                      STEPHEN P. HEYMANN
                                                      Assistant U.S. Attorney

                                   CERTIFICATE OF SERVICE


I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF).


                                               /s/ Stephen P. Heymann
                                               STEPHEN P. HEYMANN
                                               Assistant United States Attorney

Date: March 21, 2010




       1
           “J.J.’s” and “J.W.’s” names have been replaced by their initials.

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